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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

SHANNAN WHEELER et al.,
                                                CIVIL ACTION
                       Plaintiffs,
                                                Case No. 4:17-cv-2960
v.
                                                The Hon. Keith P. Ellison
ARKEMA INC.,
                       Defendant

          STIPULATED ORDER REGARDING VOLUNTARY DISMISSAL OF
                        CLASS REPRESENTATIVES

       Plaintiffs, by and through their undersigned counsel, and Defendant Arkema Inc., by and

through its undersigned counsel, pursuant to Rule 41(a)(ii) of the Federal Rules of Civil

Procedure, hereby STIPULATE that Plaintiffs will voluntarily dismiss the claims of class

representatives, Shannan Wheeler, Ezequiel Villareal, Kelly Phelps, and Howard David Phelps,

WITHOUT PREJUDICE, so that their claims may be refiled, if at all, as individual claims and

not a class representatives of the putative class.

SO STIPULATED.

DATED: November 12, 2018

Respectfully submitted,

COUNSEL FOR PLAINTIFFS                               COUNSEL FOR ARKEMA INC.

/s/Michael G. Stag                                   /s/ Thomas E. Birsic
Michael G. Stag, Attorney in Charge                  Thomas E. Birsic, Attorney in Charge
(admitted pro hac vice)                              (admitted pro hac vice)
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SO ORDERED.


Dated: ____________________________, 2018   _________________________________
                                            Honorable Keith P. Ellison
                                            United States District Judge




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                              CERTIFICATE OF SERVICE

        I hereby certify that on November 12, 2018, I served a true and correct copy of the
foregoing Stipulated Order Regarding Voluntary Dismissal of Class Representatives upon
counsel of record by the Court’s ECF electronic filing service in compliance with Federal Rule
of Civil Procedure 5 and Local Rule 5.1:


                                    Respectfully submitted by
                                    ATTORNEYS FOR PLAINTIFFS:

                                    STAG LIUZZA, LLC

                                    /s/ Michael G. Stag
                                    Michael G. Stag, Esquire, Attorney in charge




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